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       ORDERED in the Southern District of Florida on September 11, 2011.



                                                                               Robert A. Mark, Judge
                                                                          United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov


        In Re:                                         Case No. 10-26989-RAM
        Harvey Hernandez                               Chapter 7
        SSN. xxx-xx-8120

                                        Debtor /



                                ORDER VACATING DISCHARGE OF DEBTOR

                  It has been brought to the attention of the court that a Discharge of Debtor was entered on
        behalf of the above referenced debtor on September 9, 2011 [Doc. Entry # 328]. A review of the
        court docket indicates that entry of the discharge order on behalf of the debtor was premature in that
        a Complaint under 11 USC §727 Objection to Discharge of Debtor, Case No. 11-2014-RAM is
        currently pending resolution.
                  Accordingly, it is ORDERED that the Discharge of the Debtor entered on behalf of the
        debtor on September 9, 2011 [Doc. Entry # 328] is vacated, and this case shall proceed in the normal
        course.
                                                         ###
        cc: All Parties of Record by Clerk of Court
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